                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                     )          COLLIER/CARTER
                                             )
       v.                                    )          CASE NO. 1:12-CR-65
                                             )
KEVIN DAWSON                                 )



                                           ORDER

       On September 11, 2012, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts One,

Fourteen, Fifteen, and Sixteen of the Indictment in exchange for the undertakings made by the

government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

set forth in Counts One, Fourteen, Fifteen, and Sixteen of the Indictment; (c) that a decision on

whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

on bond pending sentencing in this matter (Court File No. 46). Neither party filed an objection

within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

follows:

       (1) Defendant=s plea of guilty to Counts One, Fourteen, Fifteen, and Sixteen of the

Indictment, in exchange for the undertakings made by the government in the written plea

agreement, is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One,

Fourteen, Fifteen, and Sixteen of the Indictment;




Case 1:12-cr-00065-TRM-SKL           Document 49 Filed 10/01/12            Page 1 of 2       PageID
                                           #: 158
       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN ON BOND pending sentencing on Thursday, January

10, 2013, at 9:00 am.

       SO ORDERED.

       ENTER:

                                          /s/
                                          CURTIS L. COLLIER
                                          CHIEF UNITED STATES DISTRICT JUDGE




Case 1:12-cr-00065-TRM-SKL        Document 49 Filed 10/01/12         Page 2 of 2    PageID
                                        #: 159
